Case 1:20-cr-00097-JRS-DLP Document 835 Filed 12/08/20 Page 1 of 4 PageID #: 3313




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
                           Plaintiff,         )
                                              )
                      v.                      )     No. 1:20-cr-00097-JRS-DLP
                                              )
 JAMES SWARTZ,                                ) -07
                                              )
                           Defendant.         )

                           ENTRY FOR DECEMBER 8, 2020

       On this date, Defendant, James Swartz (07), appeared in person and by

 counsel, Eric Koselke, for a sentencing hearing. The Government appeared by

 counsel, Bradley Blackington, with its investigative agent, Matt Holbrook. Kristine

 Talley appeared on behalf of the United States Probation Office. The hearing was

 recorded by Court Reporter, Cathy Jones.

       The parties were heard with respect to the sentence and application of the

 Sentencing Guidelines.

       Pursuant to the Sentencing Reform Act of 1984, Sentence was imposed as

 stated on the record, including:

       •      Special Assessment: $100.00
       •      Incarceration: 120 months. The Court recommends placement at a
              facility as close to Indianapolis as possible, at the lowest appropriate
              security level deemed appropriate. The Court further recommends
              substance abuse evaluation and treatment; participation in RDAP,
              educational programming in business management, prison industries,
              and vocational training in auto mechanics and auto body.
       •      Supervised Release: 5 years.
       •      Forfeiture: The defendant shall forfeit to the United States a cellular
              telephone from the residence located at 3616 North College Avenue in
              Indianapolis on March 19, 2020.
Case 1:20-cr-00097-JRS-DLP Document 835 Filed 12/08/20 Page 2 of 4 PageID #: 3314




       By reference to the PSR, and after the Defendant waived formal reading,

 the Court advised the Defendant that while he is on supervised release, he is to

 comply with the following conditions:

       •     You shall not commit another federal, state or local crime.
       •     You shall not unlawfully possess a controlled substance. You shall
             refrain from any unlawful use of a controlled substance. You shall
             submit to one drug test within 15 days of release from imprisonment
             and at least two periodic drug tests thereafter.
       •     You shall make restitution in accordance with 18 U.S.C. §§ 3663 and
             3663A or any other statute authorizing a sentence of restitution (if
             applicable).
       •     You shall cooperate with the collection of DNA as directed by the
             probation officer.
       •     You shall report to the probation office in the federal judicial district to
             which you are released within 72 hours of release from the custody of
             the Bureau of Prisons.
       •     You shall report to the probation officer in a manner and frequency
             directed by the court or probation officer.
       •     You shall permit a probation officer to visit you at a reasonable time
             at home, or another place where the officer may legitimately enter
             by right or consent, and shall permit confiscation of any contraband
             observed in plain view of the probation officer.
       •     You shall not knowingly leave the judicial district without the
             permission of the court or probation officer.
       •     You shall answer truthfully the inquiries by the probation officer,
             subject to your 5th amendment privilege.
       •     You shall not meet, communicate, or otherwise interact with a
             person you know to be engaged, or planning to be engaged, in
             criminal activity. You shall report any contact with persons you
             know to be convicted felons to your probation officer within 72 hours
             of contact.
       •     You shall reside at a location approved by the probation officer and
             shall notify the probation officer at least 72 hours prior to any
             planned change in place or circumstances of residence or
             employment (including, but not limited to, changes in who lives
             there, job positions, job responsibilities). When prior notification is
             not possible, you shall notify the probation officer within 72 hours of
             the change.
       •     You shall not own, possess, or have access to a firearm, ammunition,
             destructive device or dangerous weapon.
Case 1:20-cr-00097-JRS-DLP Document 835 Filed 12/08/20 Page 3 of 4 PageID #: 3315




       •     You shall notify the probation officer within 72 hours of being
             arrested, charged, or questioned by a law enforcement officer.
       •     You shall maintain lawful full-time employment, unless excused by the
             probation officer for schooling, vocational training, or other reasons that
             prevent lawful employment.
       •     You shall make a good faith effort to follow instructions of the probation
             officer necessary to ensure compliance with the conditions of
             supervision.
       •     You shall not use or possess any controlled substances prohibited by
             applicable state or federal law, unless authorized to do so by a valid
             prescription from a licensed medical practitioner. You shall follow the
             prescription instructions regarding frequency and dosage.
       •     You shall submit to substance abuse testing to determine if you have
             used a prohibited substance or to determine compliance with substance
             abuse treatment. Testing may include no more than 8 drug tests per
             month. You shall not attempt to obstruct or tamper with the testing
             methods.
       •     You shall not knowingly purchase, possess, distribute, administer, or
             otherwise use any psychoactive substances (e.g., synthetic marijuana,
             bath salts, Spice, glue, etc.) that impair a person’s physical or mental
             functioning, whether or not intended for human consumption.
       •     You shall provide the probation officer access to any requested financial
             information and shall authorize the release of that information to the
             U.S. Attorney’s Office for use in connection with the collection of any
             outstanding fines and/or restitution.
       •     You shall submit to the search by the probation officer of your person,
             vehicle, office/business, residence, and property, including any computer
             systems and hardware or software systems, electronic devices,
             telephones, and Internet-enabled devices, including the data contained
             in any such items, whenever the probation officer has a reasonable
             suspicion that a violation of a condition of supervision or other unlawful
             conduct may have occurred or be underway involving you and that the
             area(s) to be searched may contain evidence of such violation or conduct.
             Other law enforcement may assist as necessary. You shall submit to the
             seizure of contraband found by the probation officer. You shall warn
             other occupants these locations may be subject to searches.
       •     You shall pay the costs associated with the following imposed conditions
             of supervised release, to the extent you are financially able to pay:
             mental health evaluation and treatment. The probation officer shall
             determine your ability to pay and any schedule of payment.

       The Defendant shall pay to the United States a special assessment of $100.

 Payment of the special assessment shall be due immediately and is to be made
Case 1:20-cr-00097-JRS-DLP Document 835 Filed 12/08/20 Page 4 of 4 PageID #: 3316




 directly to the Clerk, U.S. District Court.

        The Defendant was remanded to the custody of the U.S. Marshal.

        The proceedings were adjourned.




  Date: 12/8/2020




 Distribution:

 Bradley A. Blackington
 UNITED STATES ATTORNEY'S OFFICE (Indianapolis)
 bradley.blackington@usdoj.gov

 Eric K. Koselke
 ATTORNEY AT LAW
 ekoselke711@gmail.com
